                SIXTH DISTRICT COURT OF APPEAL
                       STATE OF FLORIDA
                     _____________________________

                          Case No. 6D2023-1047
                     Lower Tribunal No. 2021-897MMA
                     _____________________________

                             CHRISTINE SCOTT,

                                 Appellant,
                                     v.

                             STATE OF FLORIDA,

                                 Appellee.
                     _____________________________

              Appeal from the County Court for Hendry County.
                           Darrell R. Hill, Judge.

                              August 27, 2024

PER CURIAM.

     AFFIRMED.

TRAVER, C.J., and MIZE and BROWNLEE, JJ., concur.


Howard L. “Rex” Dimmig, II, Public Defender, and Stephania A. Valantasis,
Assistant Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Cynthia Richards, Assistant
Attorney General, Tampa, for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
          AND DISPOSITION THEREOF IF TIMELY FILED
